Case: 2:11-cr-00010-GCS-EPD Doc #: 4 Filed: 01/20/11 Page: 1 of 6 PAGEID #: 5

  

ated *
UTD Laan ily
IN THE UNITED STATES DISTRICT COURT te
FOR THE SOUTHERN DISTRICT OF OHIO .
EASTERN DIVISION 2011 JAN 2G A Il: Ob
UNITED STATES OF AMERICA CUT EW Es £ Gila
eo. at COLUMBUS
v. : CASE NO. -cn-/0
: 18 U.S.C. §2314
SEAN D. MURPHY : 18 U.S.C. §1952
aka Brian Heatherman : 18 U.S.C. §371
JOSEPH M. MORGAN : 18 U.S.C. §2

ROBERT DOUCETTE
_—
ST apee. Hoescetu lt

INDICTMENT

THE GRAND JURY CHARGES:

COUNT _1

Beginning on or about December, 2008 and continuing
through on or about May, 2009, the exact dates being unknown, in
the Southern District of Ohio and elsewhere, the defendants, SEAN
D. MURPHY, aka Brian Heatherman (hereinafter SEAN D. MURPHY),
JOSEPH M. MORGAN, ROBERT DOUCETTE and at least one other person,
whose identity is known to the grand jury, did knowingly,
wilfully and unlawfully combine, conspire, confederate, and agree
with each other to transport, transmit and transfer in interstate
commerce any merchandise and money of a value of $5,000.00 or
more, knowing that the said merchandise and money had been
stolen, in violation of 18 U.S.C. § 2314 and §2.

It was part of this conspiracy that on or about
December 2, 2008, SEAN D. MURPHY caused a radio frequency jamming

device to be shipped in foreign and interstate commerce from the
Case: 2:11-cr-00010-GCS-EPD Doc #: 4 Filed: 01/20/11 Page: 2 of 6 PAGEID #: 6

United Kingdom to the State of Tennessee in order to achieve the
objectives of this conspiracy.

It was further a part of this conspiracy that a person
known to the grand jury traveled from the State of Massachusetts
to the State of Tennessee in order to obtain the aforementioned
radio frequency jamming device for use during the course of this
conspiracy.

It was further a part of this conspiracy that SEAN D.
MURPHY utilized an alias and one or more false identification
documents in order to rent trucks and storage facilities to
assist in carrying out the objectives of this conspiracy and to
avoid detection.

Tt was further a part of this conspiracy that sometime
in early January 2009, the exact date being unknown to the grand
jury, a person known to the grand jury traveled from the State of
Massachusetts to Columbus, Ohio in order to survey and “case” the
Brinks Warehouse facility located at 1362 Essex Avenue, Columbus,
Ohio.

It was further a part of this conspiracy that on or
about January 17, 2009, SEAN D. MURPHY, JOSEPH M. MORGAN and
ROBERT DOUCETTE used a variety of tools to gain entry into the
Brinks Warehouse facility located at 1362 Essex Avenue, Columbus,

Ohio.
Case: 2:11-cr-00010-GCS-EPD Doc #: 4 Filed: 01/20/11 Page: 3 of 6 PAGEID #: 7

OVERT ACTS

In furtherance of the conspiracy and in order to effect

its objectives,

the defendants,

in the Southern District of Ohio and elsewhere,

SEAN D. MURPHY, JOSEPH M. MORGAN and ROBERT

DOUCETTE, and another person known to the grand jury, did commit

at least one of the following overt acts, among others:

1.

On or about December 1, 2008, a
person known to the grand jury
drove from the greater Boston,
Massachusetts metropolitan area to
Memphis, Tennessee.

During the month of January, 2009,
a person known to the grand jury
drove from the greater Boston,
Massachusetts metropolitan area to
Columbus, Ohio.

On January 3, 2009, SEAN D. MURPHY,
using the alias Brian Heatherman,
rented a storage facility from The
Lock Up Storage Centers, 922 Brush
Creek Road, Warrendale,
Pennsylvania.

On or about January 15, 2009, SEAN
D. MURPHY rented a Dodge Sedan from
DTG Operations dba Thrifty Car
Rental, 40 Lee Burbank Highway,
Revere, Massachusetts.

On January 16, 2009, SEAN D.
MURPHY, using the alias Brian
Heatherman, rented a truck from
Newmarket Storage, 133 Exeter Road,
Newmarket, New Hampshire.
Case: 2:11-cr-00010-GCS-EPD Doc #: 4 Filed: 01/20/11 Page: 4 of 6 PAGEID #: 8

6. On or about January 16, 2009, SEAN
D. MURPHY, JOSEPH M. MORGAN and
ROBERT DOUCETTE, drove from the
greater Boston, Massachusetts
metropolitan area to Warrendale,
Pennsylvania.

7. On or about January 17, 2009, SEAN
D. MURPHY, JOSEPH M. MORGAN and
ROBERT DOUCETTE, drove from
Warrendale, Pennsylvania to
Columbus, Ohio.

8. On or about January 17, 2009, SEAN
D. MURPHY and JOSEPH M. MORGAN
entered the Brinks Warehouse
facility located at 1362 Essex
Avenue, Columbus, Ohio.

9. On or about January 18, 2009, SEAN
D. MURPHY, JOSEPH M. MORGAN and
ROBERT DOUCETTE drove from
Columbus, Ohio to Warrendale,
Pennsylvania.

10. On or about January 18, 2009, SEAN
D. MURPHY, JOSEPH M. MORGAN and
ROBERT DOUCETTE, drove from
Warrendale, Pennsylvania to the

greater Boston, Massachusetts
metropolitan area.

All in violation of 18 U.8.C. § 371.

COUNT 2
On or about the month of January, 2009, the exact date
being unknown to the grand jury, SEAN D. MURPHY did knowingly,
willfully and unlawfully aid, abet and cause an individual known
to the grand jury, to travel in interstate commerce from the
State of Massachusetts to the Southern District of Ohio, with the

intent to further promote, manage, establish, carry on, and to

4
Case: 2:11-cr-00010-GCS-EPD Doc #: 4 Filed: 01/20/11 Page: 5 of 6 PAGEID #: 9

facilitate the promotion, management, establishment, and carrying
on of an unlawful activity, that being the theft of merchandise
and money for the purpose of taking the stolen merchandise and
money in interstate commerce from the Southern District of Ohio
to locations outside of the State of Ohio, in violation of the
laws of the United States, specifically, 18 U.S.C. §2314, and
thereafter SEAN D. MURPHY did cause the performance and the
attempted performance of acts to further promote, manage,
establish, and carry on and facilitate the promotion, management,
establishment and carrying on of said unlawful activity.

In violation of 18 U.S.C. §§1952 and 2.

COUNT 3

On or about January 16, 2009, SEAN D. MURPHY, JOSEPH M.
MORGAN and ROBERT DOUCETTE did knowingly, willfully and
unlawfully travel in interstate commerce from the State of
Massachusetts to the Southern District of Ohio with the intent to
further promote, manage, establish, carry on, and to facilitate
the promotion, management, establishment, and carrying on of an
unlawful activity, that being the theft of merchandise and money
for the purpose of taking the stolen merchandise and money in
interstate commerce from the Southern District to locations
outside of the State of Ohio in violation of the laws of the

United States, specifically, 18 U.S.C. §2314, and thereafter SEAN
Case: 2:11-cr-00010-GCS-EPD Doc #: 4 Filed: 01/20/11 Page: 6 of 6 PAGEID #: 10

D. MURPHY, JOSEPH M. MORGAN and ROBERT DOUCETTE did perform and
attempt to perform acts to further promote, manage, establish and
carry on, and facilitate the promotion, management, establishment
and carrying on of said unlawful activity.

In violation of 18 U.S.C. §81952 and 2.

COUNT 4

On or about January 18, 2009, in the Southern District
of Ohic, the defendants, SEAN D. MURPHY, JOSEPH M. MORGAN and
ROBERT DOUCETTE, did unlawfully transport stolen merchandise and
money in interstate commerce, that is, miscellaneous items of
some value and more than $5,000.00 in U.S. currency, from
Columbus, Ohio to locations outside of the State of Ohio, knowing
that the merchandise and money had been stolen.

In violation of Title 18 U.S.C. §§2314 and 2.

A True Bill.

,

FOREPERSON

CARTER M. STEWART
UNITED STATES ATTORNEY

Saas L pal

GARY L. copartis V
Columbus Branch Chief
Assistant United States Attorney
